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                                 UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

             UNITED STATES OF AMERICA         :        CRIMINAL ACTION
                                              :
                       v.                     :        NO. 1:08-CR-356-18-WSD-ECS
                                              :
             LUZ MARINA LOAIZA-CLAVIJO        :


                                   REPORT AND RECOMMENDATION
                                     OF THE MAGISTRATE JUDGE


                                                  I.

                             Summary of Issues and Recommendation

                  This matter is before the Court on Defendant Luz Marina

             Loaiza Clavijo’s Motion to Suppress Vehicle Search, [Doc. 339],

             and Motion to Suppress Search of Home, [Doc. 340].          Defendant was

             given until September 2, 2011, to file any reply briefs, and the

             reply briefs have been filed.      The motions are now therefore fully

             briefed and ready for a report and recommendation.

                  The threshold and determinative issue is whether the search

             warrant signed by United States Magistrate Judge Janet King on

             October 24, 2008, was supported by a sufficient showing of

             probable cause to authorize the search of Defendant’s residence

             that was conducted four days later on October 28, 2008.          If the

             warrant is found to be valid, then the Court must also determine

             whether the search of the Toyota Sequoia vehicle that was parked

             in the garage at the time of the search was within the scope of

             the search authorized by the warrant.



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                  The undersigned concludes that the warrant was valid and that

             the search of the vehicle was within the scope of the warrant.

             Therefore, it is not necessary to reach the issue of whether the

             written consent to search the vehicle obtained by the agents was

             voluntarily given by Defendant. Finally, regarding the alleged

             failure of the agents to knock before forcing entry into the

             residence, allegedly in violation of 18 U.S.C. § 3109, Defendant

             concedes that suppression of evidence is not an available remedy

             and has withdrawn this ground for suppression. [Doc. 801 at 3].

             In short, the undersigned concludes that the motions to suppress

             evidence from the residence and vehicle searches should be DENIED.

                                                II.
                                            Discussion

                      A.     Was the warrant supported by probable cause?

                  Defendant argues that the affidavit submitted in support of

             the warrant application fails to demonstrate probable cause for

             the issuance of the warrant.     In particular, Defendant argues that

             the affidavit fails to establish a sufficient connection between

             the alleged unlawful activity and the place to be searched.

             Defendant further argues that mere opinions of the affiant should

             be disregarded in the probable cause analysis.        Defendant also

             contends that reliance on a telephone call intercepted four months

             prior to the issuance of the warrant is unjustified on the grounds

             of staleness.




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                  Under the Fourth Amendment “no Warrants shall issue, but upon

             probable cause ....” U.S. Const. Amend. IV. “Probable cause to

             support a search warrant exists when the totality of the

             circumstances allow a conclusion that there is a fair probability

             of finding contraband or evidence at a particular location.”

             United States v. Brundidge, 170 F.3d 1350, 1352 (11th Cir. 1999).

             “[T]he [warrant] affidavit must contain sufficient information to

             conclude that a fair probability existed that seizable evidence

             would be found in the place sought to be searched.” United States

             v. Martin, 297 F.3d 1308, 1314 (11th Cir. 2002) (internal

             quotation marks and citation omitted).        Furthermore, as the

             Supreme Court has reiterated, the “physical entry of the home is

             the chief evil against which the wording of the Fourth Amendment

             is directed.” Payton v. New York         445 U.S. 573, 585-86, 100 S.Ct.

             1371, 1379-80 (1980).    In that regard, the affidavit in support of

             a search warrant must also “establish a connection between the

             defendant and the residence to be searched and a link between the

             residence and any criminal activity.” Martin, 297 F.3d at 1314

                  “[The] task of the issuing magistrate [in determining whether

             to issue a warrant] is simply to make a practical, common-sense

             decision whether, given all the circumstances set forth in the

             affidavit before him, including the ‘veracity’ and ‘basis of

             knowledge’ of persons supplying hearsay information, there is a



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             fair probability that contraband or evidence of a crime will be

             found in a particular place.”      Illinois v. Gates, 462 U.S. 213,

             238, 103 S.Ct. 2317, 2332, 76 L.Ed.2d 527 (1983).

                  In this case the affidavit sets forth sufficient facts for

             the magistrate judge to have concluded that Defendant was and had

             been engaged in criminal activity.       The facts alleged in the

             affidavit demonstrated probable cause to believe that Defendant

             was working for and with an individual named Rodriguez who was a

             “cell manager” for the Gulf Coast Cartel Drug Trafficking

             Organization (“DTO”), managing warehouses for the receipt and

             distribution of drugs; the collection and storage of drug proceeds

             from customers in and around the Atlanta area; oversight of the

             offloading distribution of drugs; and other activities related to

             the operations of the DTO.

                  The affidavit, in particular, sets forth facts sufficient for

             probable cause to believe Defendant assisted in the collection of

             drug proceeds; acted as a driver for Rodriguez in connection with

             his DTO activities; possessed and maintained books and ledgers

             regarding the payment of bills and collection of proceeds;

             obtained apartments for use as “stash houses” in connection with

             drug trafficking activities. See generally, Affidavit of Andre

             Kenneybrew [Doc. 799, Exh. A].      The affidavit described an

             intercepted conversation on October 19, 2008, a mere five days



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             prior to the issuance of the warrant, in which Rodriguez spoke

             with Defendant asking her to “bring me the paper machine, the bags

             and the tape,” after prior intercepted conversations indicating

             that a collection of drug proceeds had been made. Id. at ¶ 23

             [Doc. 799, Exh. A].

                  Information from an earlier intercepted conversation in May,

             2008, also supports probable cause and is not stale, given the

             continuity of Defendant’s relationship to the ongoing drug

             trafficking activities. See Id. at ¶ 24.b; United States v. Domme,

             753 F.2d 950, 953 (11th Cir. 1985) (“When criminal activity is

             protracted and continuous, it is more likely that the passage of

             time will not dissipate probable cause.”) (citing United States v.

             Tehfe, 722 F.2d 1114, 1119 (3d Cir. 1983), cert. denied, 466 U.S.

             904 (1984)).

                  Probable cause to believe that Defendant has engaged in

             criminal activity does not end the inquiry, however.         As noted

             above, in order to establish probable cause, a search warrant

             affidavit must “state facts sufficient to justify a conclusion

             that evidence or contraband will probably be found at the premises

             to be searched.” United States v. Martin, 297 F.3d 1308, 1314

             (11th Cir.2002).    This standard does not require certainty, but

             rather “a fair probability.” See Id. “Specifically, the affidavit

             should establish a connection between the defendant and the


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             residence to be searched and a link between the residence and any

             criminal activity.” Id.; United States v. Jenkins, 901 F.2d 1075,

             1080–81 (11th Cir.1990).

                  In this case, there is a dearth of evidence directly linking

             the drug trafficking transactions to Defendant’s residence other

             than that Defendant drove her vehicle, the same vehicle used in

             the DTO activities, to her home.         The government appears to rely

             upon an inference that, in view of the nature of Defendant’s

             activities in assisting with money collection and other business

             activities of the DTO, there would be probable cause to believe

             that evidence of the transactions would be found in ledgers or

             other records at her home.

                  The undersigned concludes that a sufficient nexus was

             established in the affidavit. Evidence that the defendant is or

             has been in possession of evidence that is of the type that would

             normally expect to be hidden at her residence will support a

             search.   United States v. Anton, 546 F.3d 1355, 1358 (11th

             Cir.2008)   Furthermore, “a police officer's expectation, based on

             prior experience and the specific circumstances of the alleged

             crime, that evidence is likely to be found in a suspect's

             residence satisfies probable cause.” United States v. Bradley, 644

             F.3d 1213, 1263-64, 2011 WL 2565480, *28 (11th Cir. June 29, 2011)

                  The affidavit establishes probable cause to believe that

             Defendant assisted in drug-related money transactions and kept

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             books and records of such transactions for Rodriguez. Books,

             papers and records of such drug trafficking money transactions,

             including currency, would be evidence expected to be kept and

             stored at the Defendant’s residence on an ongoing basis, as stated

             by the agent in the affidavit. See Affidavit

             ¶¶3(f),(g)(l),24(c)(d); Jenkins, at 1080–81 (11th Cir.1990) (nexus

             between items to be seized and defendant's home can be established

             circumstantially where contraband is capable of being hidden in

             residence); United States v. Tate, 586 F.3d 936, 942–43 (11th

             Cir.2009) (holding that “the nexus between the objects to be

             seized and the premises searched can be established from the

             particular circumstances involved and need not rest on direct

             observation”). The nexus requirement in this affidavit, therefore

             is met.

                  Having found that the affidavit was sufficient to establish

             probable cause for the searches covered by the search warrant, it

             is unnecessary to discuss the applicability of the good faith

             exception to the exclusionary rule, except to say that since the

             warrant was valid and based on probable cause, Agent Kenneybrew

             clearly had a good faith basis for relying on it.         See generally

             United States v. Leon, 468 U.S. 897 (1984).

                         B.   The Search of the Vehicle in the Garage.

                  Defendant argues that the search of the Toyota Sequoia that

             was parked in the garage at the residence was not authorized by

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             the warrant and that the written consent obtained by the agents

             was not voluntary. The magistrate judge, however, found probable

             cause to believe that evidence of drug trafficking activity would

             be found “on the property or premises” identified as the residence

             located at 1112 Tupelo Chase Court, Auburn, Georgia, and issued

             the warrant. The Toyota was located “on the premises,” as it was

             parked within the garage.     See United States v. Napoli, 530 F.2d

             1198, 1200 (5th Cir. 1976)(reference to ‘on the premises known as

             3027 Napoleon Avenue’ sufficient to embrace the vehicle parked in

             the driveway on those premises.”), cert. denied, 429 U.S. 920, 97

             S.Ct. 316, 50 L.Ed.2d 287 (1976); see also United States v. Cole,

             628 F.2d 897, 899-900 (5th Cir. 1980); United States v. Bulgatz,

             693 F.2d 728 (8th Cir. 1982).

                  Where a warrant has been issued, “a lawful search of fixed

             premises generally extends to the entire area in which the object

             of the search may be found and is not limited by the possibility

             that separate acts of entry or opening may be required to complete

             the search.” United States v. Ross, 456 U.S. 798, 820-21, 102

             S.Ct. 2157, 2170-71, 72 L.Ed.2d 572 (1982) (footnote omitted); see

             also United States v. Whiddon, 146 F. App’x 352, 355-56 (11th Cir.

             2005)(unpublished).    Based upon this authority, the undersigned

             concludes that the search of the vehicle in the garage and any

             containers therein was justified under the terms of the warrant.

             Because the search of the vehicle was justified under the warrant,

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             it is not necessary to decide whether the written consent obtained

             by the agents for the search of the vehicle was voluntary.

                                               III.
                                  Conclusion and Recommendation

                     For the reasons discussed above, the undersigned recommends

             that the motions to suppress evidence from the search of the home

             and the search of the vehicle [Doc. 339, 340], be DENIED.

                     IT IS SO REPORTED AND RECOMMENDED, this 13th day of October,

             2011.

                                                      s/ E. Clayton Scofield III
                                                      E. Clayton Scofield III
                                                      UNITED STATES MAGISTRATE JUDGE




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